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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                          CASE NO. 1:17-cv-24557-KMM
  JIBRAEL HINDI,

          Plaintiff,
  v.

  LATHAM AND HATCH, LLC, a North
  Carolina corporation, TONI DAVIS, an
  individual, and JOHN DOE, an individual,

          Defendants.
                                                            /

                           UNOPPOSED MOTION FOR ENLARGEMENT
                          OF TIME TO FILE RESPONSE TO COMPLAINT

         Defendant, LATHAM AND HATCH, LLC (“Defendant”), moves pursuant to Federal

  Rule of Civil Procedure 6(b)(1) for an order enlarging the time permitted for Defendant to file a

  response to Plaintiff’s Class Action Complaint (“Complaint”)[ECF No. 1]. Defendant states the

  following in support:

         1.     On December 17, 2017, Plaintiff filed the subject Complaint.

         2.     The undersigned was recently retained and filed a Notice of Appearance in this

  matter on January 8, 2018.

         3.     The undersigned and Defendant require additional time to investigate the

  allegations and prepare a response to the Complaint.

         4.     On January 8, 2018, the undersigned conferred with Plaintiff’s counsel regarding

  Defendant’s request for an extension of time to respond to the Complaint.

         5.     Plaintiff’s counsel advised that Plaintiff has no objection to an extension of

  Defendant’s response deadline through January 23, 2018.




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         6.      Defendant has not previously requested any extension of time to respond to the

  Complaint.

         WHEREFORE, Defendant requests that the Court enter an Order extending Defendant’s

  deadline to respond to Plaintiff’s Complaint through January 23, 2018.

                        Certificate of Compliance with Local Rule 7.1(a)(3):

         The counsel for the movant has conferred with all parties who may be affected by the relief

  sought in the motion, and Plaintiff’s counsel agrees to the relief sought in this Motion.


  DATED: January 9, 2018.                                            Respectfully submitted,

                                                                     /s/ Charles E. Fombrun
                                                                     ANDREW KEMP-GERSTEL
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                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 9th day of January, 2018, I electronically caused the

  foregoing document to be filed with the Clerk of Court using CM/ECF. I also certify that the

  foregoing document is being served this day on all counsel of record in the manner specified via

  transmission of Notices of Electronic Filing generated by CM/ECF.

                                                                     /s/ Charles E. Fombrun
                                                                     CHARLES E. FOMBRUN




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